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                                EXHIBIT 1
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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                                           Case No. 0:18cv63121

       CHETU, INC.,

             Plaintiff,

       v.

       LLOYD HICKEY,

             Defendant.                                /

                                      Proposed Scheduling Report1
            Plaintiff Chetu, Inc. (“Plantiff”), pursuant to Local Rule 16.1(b) of the Southern District of

   Florida, hereby submit this Scheduling Report.

            (A)     Likelihood of settlement: There is a potential for settlement. It is premature at this

   juncture to state whether the matter may be settled, however, the parties will continue to engage

   in good faith settlement discussions.

            (B)     Likelihood of appearance of additional parties: The Parties do not anticipate

   additional parties being named or seeking intervention in this action.

            (C)     Discovery schedule: The Parties propose a pre-trial discovery schedule, which

   comports with the standard case management track as defined in Local Rule 16.1(a)(2)(B):

         DEADLINE OR DATE ACTION OR EVENT
        Within 10 days of the date The Parties shall each provide initial disclosures pursuant to
        of this scheduling order.  Rule 26(a)(1)(A).




   1
     Plaintiff has conferred with Mr. Hickey via email numerous times to coordinate a scheduling
   conference, however, Mr. Hickey, after responding and coordinating a date and time, has failed to
   appear or call in and refuses to participate in any conference or scheduling. Accordingly, Plaintiff
   files this unilateral Schedule Report.
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       DEADLINE OR DATE              ACTION OR EVENT
      Within 60 days of the          All motions for joinder of parties or to amend pleadings shall
      Parties’ service of initial    be filed.
      disclosures.
          September 20, 2019         All fact discovery must be completed. The Parties shall be
                                     under a continuing obligation to supplement discovery
                                     responses within ten (10) days of receipt or other notice of new
                                     or revised information.
           October 16, 2019          Plaintiff(s) must provide Defendant(s) an expert witness list
                                     accompanied by the reports or summaries required by Rule
                                     26(a)(2) of the Federal Rules of Civil Procedure. Only those
                                     expert witnesses named on this list and for whom the required
                                     reports or summaries have been provided shall be permitted to
                                     testify at trial. Within the fourteen-day period after this
                                     deadline, Plaintiff(s) shall make the expert witnesses available
                                     for deposition by Defendant(s).
           October 23, 2019          Defendant(s) must provide Plaintiff(s) an expert witness list
                                     accompanied by the reports or summaries required by Rule
                                     26(a)(2) of the Federal Rules of Civil Procedure. Only those
                                     expert witnesses named on this list and for whom the required
                                     reports or summaries have been provided shall be permitted to
                                     testify at trial. Within the fourteen-day period after this
                                     deadline, Defendant(s) shall make the expert witnesses
                                     available for deposition by Plaintiff(s).
          October 31, 2019           Mediation shall be completed.
         November 22, 2019           All expert discovery must be completed.
         November 29, 2019           All dispositive, pre-trial motions and memoranda must be
                                     filed, as well as any motions to exclude or to limit proposed
                                     expert testimony.
         November 29, 2019           Proposed date before which all motions in limine must be filed.
         November 29, 2019           The Parties shall each furnish opposing counsel a written list
                                     containing the names and addresses of all fact witnesses who
                                     may be called at trial. Only those witnesses named on this list
                                     shall be permitted to testify at trial. This list may be amended
                                     after the close of discovery.
           January 17, 2020          Proposed date for joint pre-trial stipulation pursuant to Local
                                     Rule 16.1(e).
          February 12, 2020          Proposed date for pre-trial conference.
          February 25, 2020          Proposed date for trial.

           (D)     Proposal for the formulation and simplification of issues: The Parties do not

   anticipate a need to simplify the issues in this action at this time. As the case progresses, the parties
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   will confer in good faith, if necessary, to discuss proposals for the formulation and simplification

   of issues in this case.

            (E)    Necessity or desirability of amendments to the pleadings: The Parties do not

   presently anticipate needing to amend the pleadings, but reserve the right to do so up until the

   deadline established by the Court’s scheduling order.

            (F)     Admissions and stipulations which will avoid unnecessary proof: The Parties

   shall work to obtain admissions and stipulations that will avoid unnecessary proof at trial.

            (G)    Avoidance of unnecessary proof and cumulative evidence; the use of

   admissions of facts and stipulations and advance rulings by the Court on the admissibility of

   evidence: The Parties will cooperate to stipulate to the authenticity of many, if not all, documents

   in this action. With respect to testimony, The Parties anticipate the number of depositions, and if

   trial goes forward, number of witnesses, to be limited. The Parties will endeavor to stipulate/admit

   to as many facts as necessary to streamline this matter for purposes of dispositive motion practice,

   and if necessary, trial. At present, The Parties do not anticipate the need of advance rulings by the

   Court on the admissibility of evidence.

            (H)    Referral of matters to Magistrate Judge or Master: The Parties do not consent

   to trial by the Magistrate Judge or to the disposition of dispositive pre-trial motions by a Magistrate

   Judge.

            (I)    Estimate of time needed for trial: The Parties estimate that no more than two (2)

   days will be necessary for trial.

            (J)    Pre-Trial Dates: The Parties request that the pre-trial conference be scheduled for

   February 12, 2020 and that the trial be scheduled to commence on or after February 25, 2020. This

   is a non-jury action.
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           (K)     Additional Helpful Information for the Court: At this time, the Parties are

   unaware of additional information that may be helpful to the Court in setting the case for status or

   pre-trial conference, but will make any such information available to the Court if it arises.

           Dated: April 16, 2019                   Respectfully submitted,

                                                   /s/ Joey Lampert
                                                   Paul Turner, Esq. (FBN 113743)
                                                   pturner@pbyalaw.com
                                                   Ben Reiss, Esq. (FBN 985643)
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                                                   Fort Lauderdale, Florida 33301
                                                   T: (954) 566-7117 / F: (954) 566-7115
                                                   Attorneys for Chetu, Inc.




                                           Certificate of Service
            I certify that on April 16, 2019, a true and correct copy of this document is being served upon
   all parties of record on the attached Service List.

                                                   /s/ Joey Lampert
                                                   Joey M. Lampert, Esq. (FBN 72570)
   Service List:
   Lloyd Hickey
   115 Large Oaks Drive
   Cary, NC
   Via FedEx and E-Mail
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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                           Case No. 0:18cv63121

    CHETU, INC., a Florida Corporation,

           Plaintiff,

    v.

    LLOYD HICKEY, a Colorado resident,

           Defendant.                                /

                                    Proposed Scheduling Order

          The parties have agreed on the following dates and discovery plan:

          (A)     The case shall be assigned to Case Management Track B, Standard Track, for a trial

   period of no more than ten (10) days.

          (B)     Detailed Discovery and Trial Deadline Schedule:

      DEADLINE OR DATE             ACTION OR EVENT
     Within 10 days of the         The Parties shall each provide initial disclosures pursuant to
     Court’s      decision    on   Rule 26(a)(1)(A).
     Defendant Judicial Watch,
     Inc.’s Motion to Stay
     Discovery (to be filed).
     Within 60 days of the         All motions for joinder of parties or to amend pleadings shall
     Parties’ service of initial   be filed.
     disclosures.
         September 20, 2019        All fact discovery must be completed. The Parties shall be
                                   under a continuing obligation to supplement discovery
                                   responses within ten (10) days of receipt or other notice of new
                                   or revised information.
          October 16, 2019         Plaintiff(s) must provide Defendant(s) an expert witness list
                                   accompanied by the reports or summaries required by Rule
                                   26(a)(2) of the Federal Rules of Civil Procedure. Only those
                                   expert witnesses named on this list and for whom the required
                                   reports or summaries have been provided shall be permitted to
                                   testify at trial. Within the fourteen-day period after this




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      DEADLINE OR DATE          ACTION OR EVENT
                                deadline, Plaintiff(s) shall make the expert witnesses available
                                for deposition by Defendant(s).
          October 31, 2019      Mediation shall be completed.
          October 23, 2019      Defendant(s) must provide Plaintiff(s) an expert witness list
                                accompanied by the reports or summaries required by Rule
                                26(a)(2) of the Federal Rules of Civil Procedure. Only those
                                expert witnesses named on this list and for whom the required
                                reports or summaries have been provided shall be permitted to
                                testify at trial. Within the fourteen-day period after this
                                deadline, Defendant(s) shall make the expert witnesses
                                available for deposition by Plaintiff(s).
         November 22, 2019      All expert discovery must be completed.
         November 29, 2019      All dispositive, pre-trial motions and memoranda must be
                                filed, as well as any motions to exclude or to limit proposed
                                expert testimony.
         November 29, 2019      Proposed date before which all motions in limine must be filed.
         November 29, 2019      The Parties shall each furnish opposing counsel a written list
                                containing the names and addresses of all fact witnesses who
                                may be called at trial. Only those witnesses named on this list
                                shall be permitted to testify at trial. This list may be amended
                                after the close of discovery.
          January 17, 2020      Proposed date for joint pre-trial stipulation pursuant to Local
                                Rule 16.1(e).
         February 12, 2020      Proposed date for pre-trial conference.
         February 25, 2020      Proposed date for trial.


          DONE and ORDERED in chambers, at Miami, Florida, on this ___ day of April, 2019.

                                            _______________________________________
                                            THE HONORABLE K. MICHAEL MOORE
                                            UNITED STATES DISTRICT COURT JUDGE


   cc: Counsel of Record




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